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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-713V



 MARY ANN NGUYEN,                                            Chief Special Master Corcoran

                         Petitioner,                         Filed: March 27, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Sean Franks Greenwood, Greenwood Law Firm, Houston, TX, for Petitioner.

Adam Nemeth Muffett, U.S. Department of Justice, Washington, DC, for Respondent.


                               DECISION AWARDING DAMAGES 1

       On January 12, 2021, Mary Ann Nguyen filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered to her
on September 27, 2020. Pet., ECF No. 1. Petitioner further alleges that the vaccine was
received in the United States, she suffered sequela of her injury for more than six months,
and neither Petitioner nor any other party has ever received compensation in the form of
an award or settlement for her vaccine-related injury. Id. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On October 27, 2023, a Ruling on Entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. ECF No. 37. On March 26, 2024, Respondent

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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filed a Proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $112,500.00 in pain and suffering and $3,790.50 in past unreimbursable
expenses. Proffer at 1-2, ECF No. 47. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. See id. Based on the record as a whole, I find
that Petitioner is entitled to an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $116,290.50 for pain and suffering and past unreimbursable
expenses, in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this Decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                     )
 MARY ANN NGUYEN,                                    )
                                                     )
               Petitioner,                           )
                                                     )   No. 21-713V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
               Respondent.                           )
                                                     )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On January 12, 2021, Mary Ann Nguyen (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine she received on September 27, 2020. Petition at 1. On October 27, 2023,

the Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating

that this case is appropriate for compensation under the terms of the Act for a SIRVA Table

injury, and on December 5, 2023, the Chief Special Master issued a Ruling on Entitlement

finding petitioner entitled to compensation. ECF No. 36, 40.

I.     Items of Compensation

       A.     Pain and Suffering

       Respondent proffers that petitioner should be awarded $112,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $3,790.50. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $116,290.50 in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Mary Ann Nguyen:                             $116,290.50




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                   Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
                                   Director
                                   Torts Branch, Civil Division

                                   HEATHER L. PEARLMAN
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   ALEXIS B. BABCOCK
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   /s/ Adam N. Muffett
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Date: March 26, 2024




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